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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                     Case Number 8:01cr99
                                                       USM Number 17155-047

WILLIE B. JACOBS
                       Defendant
                                                       Ernest H. Addison
                                                       Defendant’s Attorney
___________________________________

                               JUDGMENT IN A CRIMINAL CASE
                       (For Revocation of Probation or Supervised Release)

THE DEFENDANT admitted guilt to violation of standard condition 7 and the mandatory condition
which states the defendant shall not commit another federal, state, or local crime of the term of
supervision.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:

                                                                              Date Violation
       Violation Number                  Nature of Violation                   Concluded


 1                                 Testing positive for marijuana     December 21, 2004
                                   use

 2                                 Arrested for felon in possession   January 6, 2005
                                   of a firearm

The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984 and Booker/FanFan decisions.

Following the imposition of sentence, the Court advised the defendant of his right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this
date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                      Date of Imposition of Sentence:
                                                                                 September 14, 2005

                                                       s/ Joseph F. Bataillon
                                                       United States District Judge

                                                       September 15, 2005
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                                       IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons
         to be imprisoned for a term of Time Served.


         (X) The defendant is remanded to the custody of the United States Marshal.


                              ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                            _____________________________
                                                                    Signature of Defendant

                                           RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt , above.

                                        CERTIFICATE


It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______

                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________
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                                  SUPERVISED RELEASE

                              No term of supervised release is imposed.
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                              CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in this judgment.

        Total Assessment                       Total Fine                       Total Restitution
              $100.00                              .00                             $2,217.00



The Court has determined that the defendant does not have the ability to pay interest and it is
ordered that:



                                                  FINE

          No fine imposed.

                                            RESTITUTION

         Restitution in the amount of $2,217.00 is hereby ordered. The defendant shall make
restitution to the following payees in the amounts listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately
proportional payment, unless specified otherwise in the priority order or percentage payment
column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid in
full prior to the United States receiving payment.
                                                                                      Priority Order
                               **Total Amount                Amount of                or Percentage
     Name of Payee                 of Loss               Restitution Ordered           of Payment

 Commercial Federal                $2,217.00                  $2,217.00                 Priority
 Bank                                                                            Order/Percentage

 Totals                            $2,217.00                  $2,217.00


         **Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of
Title 18, United States Code, for offenses committed on or after September 13, 1994 but before April 23,
1996.
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                                     SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay; payment of the total criminal monetary penalties
shall be due as follows:


           A special assessment balance of $24.18 remains due and payable.

           A restitution balance of $1,928.31 remains due and payable.

         Special instructions regarding the payment of criminal monetary penalties:

During the defendant’s term of incarceration, he shall pay 25% of his prison earnings toward the
unpaid balance of the criminal monetary penalty, i.e., restitution and special assessments.l

Following release from incarceration, the defendant will make monthly installment payments of
$50.00 or 10% of the defendant’s gross income, whichever is greater, toward the unpaid
balance of the criminal monetary penalty. The first payment shall commence 30 days following the
defendant’s discharge from incarceration. Payments shall continue until the criminal monetary
penalty is paid in full. The defendant shall provide proof of payment to the United States Probation
Office as directed.

If a change in the defendant’s economic circumstances affects the defendant’s ability to make
installment payments in the amount ordered, he shall immediately notify the United States
Probation Office. A change in economic circumstances includes the ability to increase the amount
of monthly installments or to pay the balance of the criminal monetary penalty in full.

Unless the court has expressly ordered otherwise in the special instruction above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation officer or the United States attorney.

      All financial penalty payments are to be made to the Clerk of Court for the District of
Nebraska, 111 S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.


CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
